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FORM TO BE USED BY A PRISONER IN FILING A CIVIL RIGHTS COMPLAINE
IN THE UNITED STATES DISTRICT COURT HARRISSTIL .
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA ° »PA
SEP 1 9 2017

) BRAY JIBRIL MURRAY, CG~8958

(Name of Plaintiff) (Inmate Number) : oo ae UL
SCI-DALLAS...1000 Follies Road . ata at At
Dallas,Pa. 18612

| (Address)

 

2) oO | ae
_ (Name of Plaintiff) (inmate Number) DO | . ) ~Ci )-\ Lo a)

(Case Number)

 

(Address)

(Each named party must be numbered, —
and all names must be printed or typed)

vo : CIVIL COMPLAINT
(1) SECRETARY JOHN E. WETZEL, 20 ‘i10"
(2) __ SUPERINTENDENT LAWRENCE MAHALLY

(3) DEPUTY SUPT, ZAKARAUSKA; (4).DEPUTY: |
(3) DEMMING; (5) U/M BOHINSKI; (6). MAJOR WHITE.

(Names of Defendants):

 

 

(Each named party must be numbered,
and all names must be printed or typed) -

TO BE FILED UNDER: **** 42 U.S.C. § 1983 - STATE OFFICIALS
28 U.S.C. § 1331 - FEDERAL OFFICIALS

I. PREVIOUS LAWSUITS

A. If you have filed any other lawsuits in federal court while a prisoner, please list the caption and case
number including year, as well as the name of the judicial officer to whom it was assigned:

MURRAY V. SMITHBOWER, et al., C.A, No. 1:17-cv-00127, was filed January 23
2017, in the U.S. Dist. Court for the Middle District of Pennsylvania, and assigned
to the Haye. wali Sones pTDe a da Be ea _
MURRAY V. ENNIS, et al., C.A. No.
the Hon. Sean J.. McLaughlin.

      

  

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Il. EXHAUSTION OF ADMINISTRATIVE REMEDIES

In order to proceed in federal court, you must fully exhaust any available administrative remedies as to
each ground on which you request action.

A. Is there a prisoner grievance procedure available at your present institution? RVs No

B. Have you fully exhausted your available administrative remedies regarding each of your present
claims? **** Yes No

C. If your answer to “B” is Yes:

1. What steps did you take? I filed initial grievance No. 668355 at the institu-

‘tional level on 3/3/17. It and all subsequent appeals were denied. Appendixed to this
complaint is fully reviewed and exhausted grievances/appeals, in support of facts, etc.,

claims, etc., raised in this suit.

2, What was the result? NEGATIVE} ! 1

 

D. If your answer to “B” is No, explain why not: N/A

 

 

I. DEFENDANTS

(1) Name of first defendant: John E, Wetzel, Secretary of Pennsylvania Dept. of Corrections

Employed as SECRETARY at Peansylvania Dept. of Corrections
Mailing address: 1920. Technology Parkway, Mechanicsburg, Pa. 17050

(2) Name of second defendant: LAWRENCE MAHALLY
Employed as SUPERINTENDENT at SCI~DALLAS
Mailing address: 1000 Follies Road, Dallas, Pa. 18612

(3) Name of third defendant: ZAKARAUSKA
Employed as DEPUTY SUPERINTENDENT at SCI-DALLAS

Mailing address: ._ 1000 Follies Road, Dallas, Pa. 18612
*(List any additional defendants, their employment, and addresses on extra sheets if necessary)*

IV. STATEMENT OF CLAIM

(State here as briefly as possible the facts of your case. Describe how each defendant is involved, including
dates and places. Do not give any legal arguments or cite any cases or statutes. Attach no more than three

. extra sheets if necessary.)

1:In September 2008, the Pa. Dept. of Corrections enacted and issued THE CLEAN TNDOOR
AIR ACT, under policy No. 1.1.7 (Séé EX.No.1). According to No.1.1.7 policy statement
"This policy applies to all Department of Corrections facilities." Also, "It is the
policy of the Dept. of Corrections 'TO PROVIDE A SMOKE FREE ENVIRONMENT! consistent

with Senate bill No.246 of 2007, Pennsylvania Clean Air Act."
“Iam a NON-SMOKER who have NEVER consumed any kind of tobacco SEOSUCES: On 8/30/
 

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2016, I arrived to SCI-DALLAS, and was immediately placed in the Restricted Housing
Unit (RHU); where it absolutely prohibit inmates to purchase, possess and consume any
sort of tobacco products. On 9/22/2016, I was released into the general population of
SCI-DALLAS; where inmates and staff are allowed to purchase, possess and consume/use
‘smoking—tobacco products; ‘There Is no NON-SMOKING housing unit in SCI-~DALLAS,. Nor
is there a housing unit, where it is absolutely prohibited for inmates to purchase, —

SMOKING FORACCO

. el. i
possess and-consume/use-SMOKING-TOBAcES products:

on 9/22/2017, I was placed on F-unit, where it houses approx. 200 inmates, because:
88 of the100- cells on-unit—are-ceeupted by _two_immates at alt times. Moreover, the
complete absence of video recording cameras on housing units allows inmates and staff
to freely and openly use smoking tohacco. products (al day and night) anywhere -in the
housing units, with impunity.

Consequently, as. soon as I enters F-unit (as a resident) I was exposed (every day

and night) to extraordinarily high levels of SECOND-HAND SMOKE. During the months:-
October 2016 and January 2017, I vigorously complained about. the inordinately high
levels of tobacco smoke in housing units, by sending request slips to U/M Bohinski,
CCPM Goyne;-—Major-white, Deputies Demming and Zakarauska (Ex. Nos. 2 to 7). None of

the request to staff were answered or received any response. Also, I sent a copy of

a letter/complaint to-several Pa,State Representatives; the Pa. Prison Society; and

_ Secretary Wetzel. (See Ex. Nos.8,9). When I received either no response or. a negative

response, on March 3, 2017, I filed grievance-#668355,-on behalf of myself and the
NON-SMOKING inmate population of SCI-DALLAS. (See Ex. Nos. 10 to 16). :
**kPLEASE REFER TO THE PAGE ATTACHED TO THE BACK, FOR THE STATEMENT OF CLAIMS**

RELIEF

(State briefly exactly what you want the court to do for you. Make no legal arguments. Cite no cases OF

statutes.)

1 1. Compensatory Damages (against the Pa. Dept. of Corrections) of $1,000,00-a day,
'“" for every day that I have been in SCI-DALLAS (exposed to extraordinarily high
- levels of second-hand tobacco smoke; 2. PRELIMINARY INJUNCTION, that all i tes
of SCE-DALEAS be _promibited trom busily Skeking tobacco products, until proper
renovations are completed on every housing unit,. that will adequately protect the
NON-SMOKING. inmate populatien—frem-exposure to extraordinarily high levels of SEc-
OND HAND SMOKE; 3. PRELIMINARY INJUNCTION, that staff be prohibited from bringing
smoking tobacco products in SCT=DALLAS facility,—unti} the-outcome of this suit,
' or until adequate renovations are completed on every housing unit, to protect the
NON-SMOKING inmate population from being exposed to excessively high levels of
second-hand tobacco; 4. PRELIMINARY INJUNCTION, that G-uni 5 i unit
* with oors on célIs) be designated as the official NON-SMOKING UNIT of SCI-
DALLAS; where it is prohibited for inmates and staff to possess, purchase and use
smoking—tebacee-products; until adequaté renovations are completed on every hous-
ing unit, that will protect the NON-SMOKING inmate population exposure to exces-—
sively high levels of second—hand-smoke;—5.- COMPENSATORY DAMAGES, against all the
defendants (severally and jointly), in the amount of $500.00 a day, for every day
(since 9/22/2016), that I have been exposed-te-extracrdinarity high tevets of sec-—
ond hand tobacco smoke; 6. PUNITIVE DAMAGES, against all the defendants (severally
and jointly), in the amount of $5,000.00 a day, for every day (since 9/22/2017),
-for deliberately housing me in a SCI-facility (i.e., DALLAS) with unmanageable and
’ extraordinarily high levels of “ENVIRONMENTAL TOBACCO SMOKE" ("ETS"), and conse~
quently causing mental and emotional anguish and distress, as a result of my future

healthbeing-placed at grave risk and peril.

 

  
   

 

 
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Cont... .DEFENDANTS
(ACTING UNDER THE COLOR OF STATE LAW...ARE)

4, Deputy Superintendent Demming; 5. Major White; 6. Unit Manager Bohinski;
and 7. Program Manager Goyne.

All the Defendants are employees of SCI-DALLAS, at 1000 Follies Road, DALLAS, PA.
18612.

*ALL OF THE DEFENDANTS ARE BEING SUED IN THEIR OFFICIAL AND INDIVIDUAL CAPACITIE S*

 

STATEMENT OF CLAIMS

1. Befendants Wetzel and Mahally violates the CRUEL...and DELIBERATE INDIFFERENCE
CLAUSES of; the EIGHTH AMENDMENT to. the U.S. Constitution, by transferring and hous-
ing plaintiff in a SCI-facility (i.e., DALLAS) that permits and/or condones inmates
and staff freely and openly possessing, using and consuming SMOKING TOBACCO PRODUCTS
in the housing units (BECAUSE OF THE COMPLETE ABSENCE OF VIDEO RECORDING CAMERAS IN
HOUSING UNITS). Thereby, creating and/or perpetuating a pernicious TOBACCO SMOKE EN-
VIRONMENT, that not only gravely places plaintiff's (and similarly situated NON-SMOK-
ING inmates) future health at risk, but also have caused him severe mental anguish
and emotional distress.

2. Defendants Wetzel and Mahally violates the CRUEL...and DELIBERATE
INDIFFERENCE CLAUSES of the EIGHTH AMENDMENT to the U.S. Constitution,
by facilitating the trafficking and use of SMOKING TOBACCO PRODUCTS in
an antiquated SCI-facility (i.e., DALLAS) that is severely ill-equipped
to protect plaintiff (and similarly situated NON-SMOKING inmates) from
exposure to extraordinarily high levels of tobacco smoke in housing unit.
blocks.

3. Every SCI-FACILTY of Pennsylvania, have 24-hour video recording cameras install-
ed in inmate housing units to ensure that neither staff, nor the inmate population vio-
late the Pa, CLEAN INDOOR AIR ACT, undetectedly or freely using smoking tobacco products
in housing units. Therefore, by deliberately refusing and/or neglecting to install any
kind of video recording system in the inmate housing units of SCI-DALLAS, Defendants
Wetzel, Mahally, Zakarauska, and White, violates the EQUAL PROTECTION rights of plain-
tiff (and similarly situated NON-SMOKING inmates); who are equally entitled to protec-
tion from inordinately high levels of ENVIRONMENTAL TOBACCO SMOKE in housing units.

4. Defendants Zakaraska, Demming, White, Bohinski, and Goyne, violates the DELIBE-
RATE INDIFFERENCE CLAUSE of the EIGHTH AMENDMENT to the U.S, Constitution, by ignoring *
and/or deliberately refusing to respond to request slips of plaintiff's, beseeching
that he be housed in a NON-SMOKING inmate housing unit, where his future health is not
at serious risk, because of extraordinarily high levels of ENVIRONMENTAL TOBACCO SMOKE
in housing units, where inmates are permitted to purchase, possess and use/consume...
smoking tobacco products with impunity.
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I declare under penalty of perjury that the foregoing is true and correct.

AuGcusy 20 17.

Signed this 3 [ day of

 

(Signature of Plaintiff) 4 // SC
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COVER LETTER

Bray Jibril Murray, #CG-8958 Eu re

SCI-DALLAS . ILE}
1000 Follies Road HARRISBURS p
Dallas, PA 18612 SEP 1 on. A

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AUGUST 31, 2017 | 7

OFFICE OF THE CLERK me

UNITED STATES DISTRICT COURT ae

FOR THE MIDDLE: DISTRICT OF PA
U.S. COURTHOUSE

228 WALNUT STREET

P.O. BOX 983

HARRISBURG, PA 17108

RE: FILING OF CIVIL RIGHTS COMPLAINT

DEAR CLERK OF COURT, PLEASE FIND ENCLOSED:

1. A CIVIL RIGHTS COMPLAINT [§1983];

 

2. BARFY-SUMMONS; WAIVER OF Summons; (nagsiat Forms )
3. MOTION FOR IN FORMA PAUPERTS STATUS;
, 4. MOTION FOR PRELIMINARY INJUNCTION;
5. BRIEF IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION;
6. MOTION FOR THE APPOINTMENT OF COUNSEL;
7, SEVERAL EXHIBIT ITEMS APPENDIX TO BACK OF COMPLAINT;(/3-iv- 422)

8. -PWENEY-(20-) DECLARATIONS OF INMATE/CO-PLAINTIFFS;

EIGHT (8)

Along with the originals, an exact copy is submitted for endorsement and
return (for verification of receipt), in the enclosed self-addressed envelope.

SINCERELY,
